       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 1 of 27




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


      SABRINA WILLIAMS,

            Plaintiff,                            CIVIL ACTION FILE NO.

      vs.                                         JURY TRIAL DEMANDED

      PANDA TRAVEL, INC.,
      EAGLE BUS, INC.,
      PANDORABUS, INC.,
      PANDORA TOURS, INC.,
      W & G AGENCY, INC., and
      LI WANG,
       Dba or Alias:
              PandaNY Bus, Inc
              Pandora Bus
              WandaCoach
              Wang Li

        Defendants.
________________________________




                                     COMPLAINT

      COMES NOW Plaintiff Sabrina Williams (“Plaintiff” or “Williams”), who is

African American and disabled, who brings this Complaint against Defendants

Panda Travel, Inc., Eagle Bus, Inc., Pandorabus, Inc., Pandora Tours, Inc., W & G

Agency, Inc., and Li Wang (collectively, “Defendants” or “Panda”; which terms
        Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 2 of 27




include aliases and/or d.b.a. names PandaNY Bus, Inc., Wanda Coach, and Pandora

Bus, and Wang Li).

1.    This lawsuit arises (i) from Defendants’ practice of race discrimination by

assigning seats to African Americans in the back part of the bus while assigning

seats to Asians in the front part of the bus in violation of 42 U.S.C. § 1981 and in

disregard of 49 C.F.R. § 374.101, (ii) from Defendants’ refusal to allow Plaintiff

access to disability priority seating, on account of her race, while allowing Asians,

its employees and/or stacks of bags to occupy such seating in violation of 42 U.S.C.

§ 1981, (iii) from Defendants’ causing a police officer at the DeKalb GA bus station

to force her to relinquish a disability priority seat in violation of 42 U.S.C. § 1983,

even though months earlier Defendant had called a NY police officer to force

Plaintiff to relinquish a disability priority seat in NYC, but the officer approved her

occupation of the priority seat and did not force her to move, (iv) from Defendants’

discrimination against Plaintiff on account of her disability in violation of 42 U.S.C.

§ 12184(a) (Title III of the ADA – prohibiting disability discrimination in the full

use and enjoyment of transportation services, including Defendants’ buses) and

various ADA implementing regulations thereunder (as shown below), and (v) from

selling or issuing tickets that fail to include, as required by 49 C.F.R. § 374.103, the




                                               2
         Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 3 of 27




statement “Seating aboard vehicles operated in interstate or foreign commerce is

without regard to race, color, creed, or national origin.”

                           JURISDICTION AND VENUE

2.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and

1343.

3.      Venue is proper in this Court, pursuant to 28 U.S.C. 1391(b). The bus trips

taken by Plaintiff originated in Atlanta or ended in Atlanta and the discrimination

complained of generally lasted the entirety of each trip.

4.      Defendants’ infringement of Plaintiff’s contractual rights under 42 U.S.C. §

1981 occurred at the inception of each bus trip, but after she purchased her ticket,

and continued throughout.

5.      Defendants’ violation of 42 U.S.C. § 12184(a) and 49 C.F.R. § 37.167(j)

occurred through out each bus trip.

                                      PARTIES

6.      Plaintiff Sabina Williams is an African-American citizen of the United States

and resides in Atlanta, Georgia.




                                               3
         Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 4 of 27




7.      Plaintiff is disabled under 42 U.S.C. § 12102(1). She has impairments that

substantially limit one or more of her major life activities.

8.      Defendant Panda Travel, Inc. is a Georgia corporation, with its principal place

of business in Doraville, DeKalb County, Georgia. Its corporate headquarters are

located at 5745 Buford Hwy, NE, Suite 103, Doraville, Georgia. According to the

Secretary of State’s website, Li Wang is Panda Travel, Inc.’s Chief Financial

Officer. Defendant Panda Travel, Inc. issues sales tickets for bus travel bearing the

names of PandaNY, WandaCoach, Pandora, and Pandora Bus which the Plaintiff

rode.

9.      Defendant Panda Travel, Inc.’s ticket agents assign seat numbers to customers

and routinely assign black people seats toward the back of the bus and Asians

toward the front.

10.     Defendant Eagle Bus, Inc. is a Massachusetts corporation, with its principal

place of business in 633 Trapelo Rd, Suite 102, Waltham, Massachusetts. Its

corporate headquarters are located at, 633 Trapelo Rd, Suite 102, Waltham,

Massachusetts. Defendant Eagle Bus, Inc., as listed on the Secretary of the

Commonwealth of Massachusetts’s website, identifies Li Wang as President,

Treasurer, Secretary, and Director (same name listed as CFO of Panda Travel)



                                               4
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 5 of 27




with his individual address as, 1608 Emerywood Dr., Charlotte, NC 28210.

Defendant Eagle Bus, Inc. owns and operates some of the buses on which Plaintiff

rode (Massachusetts’ tag # 97961) and carries the United States Department of

Transportation No. 2556441 (U.S. DOT#: 2556441). According to the U.S.

Department of Transportation website, Defendant Eagle Bus, Inc. operates 27 buses

with 42 drivers.

11.   On information and belief, Eagle Bus, Inc. is a large, fixed-route operator

within the meaning of 42 U.S.C. §12181; an over-the-road bus (OTRB) operator

within the meaning of 42 USC § 12181(5) and 49 C.F.R. § 37.3; and a Class I motor

carrier within the meaning of 49 C.F.R. § 369.2.

12.   Defendant Eagle Bus, Inc. is a private operator of fixed-route transportation

service that is engaged in the business of transporting people and whose operations

affect interstate commerce within the meaning of 42 U.S.C. § 12184 and 49 C.F.R.

§§ 37.3 and 37.5(f).

13.   Defendants alias PandaNY, Inc., is the name on some of the tickets purchased

by the Plaintiff on-line and through Panda Travel, Inc. at the Atlanta Bus Station

located in Doraville, DeKalb County, Georgia and the New York Bus Stations.

Defendant PandaNY, Inc., is not incorporated with the Georgia or New York



                                             5
         Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 6 of 27




Secretary of State but its website, PandaNYbus.com list an office location of 5745

Buford Hwy, NE, Suite 103, Doraville, Georgia, the same address as Panda Travel,

Inc. Several articles including a “New York Post” article describe PandaNY as

“PandaNY a.k.a. Eagle Bus, Inc.”

14.     Defendant alias Pandora Bus, is another name on some of the tickets

purchased by Plaintiff including a bus route from Atlanta, Georgia to New York,

New York. Pandora Bus is not a registered company in Georgia. According to the

website GotoBus.com, which also sells tickets on-line, the bus station location for

Pandora Bus in Georgia is 5745 Buford Hwy, NE, Doraville, Georgia, the same

location as Panda Travel who sold tickets to Williams. Pandora Bus showed three

bus stations for the New York area, 19 Allen St, 19 Pike St, and 103 Canal St, New

York.

15.     Pandora Tours, Inc. is registered in the state of New York (DOS ID #:

4513692) with the DOS Process names and address as, Jin Chun Pan and Wang Li,

19 Pike Street, New York, New York, 10002. Li Wang also serves as a corporate

officer for defendants Panda Travel, Inc. and Eagle Bus, Inc.

16.     PandoraBus, Inc. is registered company in New York (DOS ID #:4520269)

with the DOS Process name and address as, Jin Chun Pan, 19 Pike Street, New



                                             6
        Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 7 of 27




York, New York 10002. New York does not list any assumed names for this

PandoraBus, Inc. but Pandora Bus is likely a d.b.a. for PandoraBus, Inc. and

possibly other Defendants. Jin Chun Pan is also an officer of Panda Tours, Inc.

17.   Defendant W & G Agency, Inc. is registered in the state of New York (DOS

ID #: 4553416) with the DOS Process names and address as Wang Li, 19 Allen

Street, New York, New York, 10002 (Wang Li is an alias of Li Wang as the North

Carolina foreign corporation for same corporation shows Li Wang as the

President). According to WandGBus.com the Bus Station for Georgia is 5745

Buford Hwy, NE, Doraville, Georgia. W & G Agency, Inc. is not registered in

Georgia as foreign corporation. According to WandGBus.com the Bus Station for

North Carolina is 3301 Freedom Dr, Charlotte, NC. W & G Agency, Inc. is

registered in North Carolina as a foreign corporation listing Li Wang as the

President. On information and belief, tickets sold bearing the name WandaCoach is

an alias for W & G Agency, Inc. Some tickets purchased by Plaintiff were sold

under WandaCoach and/or W & G Agency.

18.     Defendant Li Wang, is a resident of the State of North Carolina, with

individual residence listed as 1608 Emerywood Dr., Charlotte, NC 28210 USA. He

holds one or more of the positions of director, president, vice-president, treasurer, or

secretary in the listed Defendant corporations.


                                              7
        Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 8 of 27




19.   On information and belief, Defendants owned, operated and maintained

control over the buses which the Plaintiff bought tickets for bearing the names

PandaNY, WandaCoach, and Pandora, and rode, at all times pertinent to this

lawsuit. Defendants committed, authorized, sanctioned, ratified and approved the

unlawful policies, action and conduct described and complained of in this

Complaint.

20.   On information and belief, the aliases PandaNY Bus, Inc, Pandora Bus and

Wanda Coach are, individually and collectively, aliases of Li Wang and/or the other

Defendants.

21.   On information and belief, the Defendants individually and collectively,

operate fixed routes of transportation accessible to the public across state lines

affecting interstate commerce using over-the-road buses.

22.   On information and belief, Li Wang controls Panda Travel, Inc, Eagle Bus,

Inc., Pandora’s, Inc., Pandora Tours, Inc., W&G Agency, Inc. and directs the

business operations of each and sets the policies and procedures of each, include the

policy and procedure of sending black people to the back of the bus and not

allowing black people to sit at the front of the bus, even if they are disabled or

experiencing physical pain.




                                               8
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 9 of 27




23.   On information and belief, Eagle Bus, Inc. and one or more of the other

Defendants are “alter egos” of Li Wang.

                                       FACTS

24.   On or about December 1, 2015, Plaintiff Williams began using Defendants’

buses and/or tickets for one leg of her travel (Atlanta to New York) to her medical

appointments in Boston. After taking Defendants’ buses and/or tickets to New

York, Williams would have to take another bus line to Boston.

25.   Williams often has to take several trips per month to these doctor’s

appointments. Due to the expense of frequent trips she sometimes is forced to ride

the overnight bus up, go to the doctor’s appointment, and turn around and take the

next overnight bus back home without the luxury of overnight hotel

accommodations between trips.

26.   Williams is disabled, suffering from lower back pain, right leg pain, and

spinal stenosis of the lumbar region, which makes it difficult for her to walk, causes

nerve pain, causes weakness in her lower extremities, and makes it difficult to sit in

the narrow confined areas and to walk very far.

27.   Defendants assigned tickets to Plaintiff and denied her access to priority

seating on the basis of her race on bus trips originating and terminating from the


                                              9
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 10 of 27




5745 Buford Hwy, NE, Doraville, Georgia location (“the Atlanta Bus Station”) and

on bus trips originating and terminating from Allen Street, New York, NY, Pike

Street, NY, and Canal St, New York, NY locations (“the New York Bus Stations”).

28.   Plaintiff purchased the tickets for Defendants’ buses at the Atlanta Bus

Station, New York Bus Stations or on-line.

29.   When a ticket is purchased, a seat assignment number is written on the ticket

by Defendants’ ticket agents, but the seat assignment is not typically strictly

enforced. However, seating in the front of the bus is restricted: Asians and stacks of

bags are given priority while African Americans are sent to the back of the bus.

30.    The back of the buses are often kept unclean with the bathrooms lacking care

to prevent them from having profuse odors of urine and fecal material.

31.   Numerous on-line negative reviews report the lack of cleanliness of the buses

specifically at the back of bus where African Americans are assigned seating.

32.   The segregation practices of the Defendants are well known and a topic of

conversation for those riding the buses. On-line reviews documenting customer’s

complaints of the discriminatory practices are available. Customer’s experiencing

the discriminatory practices have made complaints.




                                              10
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 11 of 27




33.   Beginning in December 2015 through July 2017, after having purchased her

bus ticket, Williams made numerous requests to Defendants’ personnel to sit in the

disabled ‘priority seating’ at the front of the bus. Drivers continually denied her

accommodation to this seating telling her to ‘go to the back of the bus’. Of little to

no avail, other passengers have also tried to intervene on her behalf recognizing her

pain and need for access to the priority seating.

34.   Disability priority seating, i.e., the 4 seats at the front of the bus, excluding

the driver’s seat, allows for additional legroom compared to a regular seating,

reduced the walking distance, and allowed for easy entry and departure from the bus

without as much risk of being bumped while trying to navigate the isle. Because she

was denied the easier access and extra sitting space on her trips on Defendants’

buses, she suffered physical pain and injury. She also suffered humiliation,

emotional distress and other forms of mental anguish and suffering.

35.   Williams after several trips on Defendants’ buses began to notice that the

African Americans were consistently denied access to the priority seating, told to go

to the back of the bus, while the Asian customers are allowed to sit in the seats in

the front, without regard to disability.




                                               11
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 12 of 27




36.   The drivers, who are often Asian (probably Chinese), will allow other Asians

to sit, including substitute Asian drivers, on the front seats but not African

Americans. Sometimes, the drivers will pile black bags on the front seats to keep

African Americans from using the seats until an Asian boards. Sometimes a front

seat is left occupied by stacks of bags, even if Plaintiff made a request to sit in

priority disability seating on account of her disability.

37.   On March 8, 2016, Williams purchased a Panda bus ticket at the Atlanta Bus

Station to New York from Atlanta. She requested disability priority seating and was

denied it when she entered the bus. She boarded and sat on a row that had two

vacant seats.   Somewhere in North Carolina, at a stop, Williams again asked for

priority seating, because she was in substantial pain. However, instead, the driver

brought another person to the vacant seat by Williams who encroached into

Williams space. Williams suffering from tremendous pain, got up and made her

way to the front to ask about some different seating arrangements. Before she could

even get her request out to be seated in the disability ‘priority seating’ at the front of

the bus, the driver said, no. Williams continued with her request, pointed out her

disability, but the driver would not even acknowledge her. At that time there was an

Asian man stretched out sleeping on two of the front seats (not directly behind

driver) and behind the driver sat 2 young Asian ladies (in the other front seats).


                                               12
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 13 of 27




Williams sat on the floor in the middle of the bus, waiting for an answer from the

bus driver, her body tired from standing and so she could straighten out her legs

without the pressure. He never responded. After about an hour, she went back to the

seat in the back. The bus arrived in New York the next morning, March 9, 2016.

38.   On the return trip, March 10, 2016, Williams having received a medical

injection and in pain, boarded the bus, and took the vacant front seat opposite the

driver. The driver immediately demanded she go to the back of the bus and

Williams refused. Several employees from the bus company and the agents boarded

the bus using intimidating words to try to get Williams to move to the back of the

bus. They threatened to call the police, but Williams refused to move. Some

patrons on the bus spoke in favor on Williams maintaining the seat and others

scorned and ridiculed Williams for holding up their bus trip.

39.   Panda did call the police on Williams, when she refused to move. Eventually,

Officer Moore, Badge #2984, arrived and after speaking with the Panda bus driver,

other Panda employees and Williams, Officer Moore told Williams she was allowed

to maintain her seating. The incident was extremely embarrassing to Williams and

left her crying.




                                             13
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 14 of 27




40.   At the rest stop on this trip, the driver stopped the bus at a much greater

distance away from the building (good football field away) than usual which was

not close enough distance for Williams to be able to walk and she feared they would

leave her if she got off the bus. Williams believed this was retaliation for sitting in

the front seat and is a deprivation and infringement of her contractual rights under

42 U.S.C. § 1981.

41.   On March 23, 2016, Williams took Panda bus again from Atlanta to New

York and was denied access to a front seat.

42.   Prior to the June 5, 2016 Panda bus trip, Williams tried to secure priority

seating by booking on-line, but the web-site would put the booking into a

continuance spinning loop. She additionally requested priority seating at the counter

prior to boarding but was refused accommodations. When boarding Defendants’

bus she again asked for priority seating on account of her disability and she was told

to move to the back of the bus.

43.   On the July 11, 2016 Panda bus trip, Williams requested to sit at the front

which was empty but again was denied access, even though she pointed out her

disability and asked to stay in the front. On July 13, 2016 on the return trip from




                                              14
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 15 of 27




New York she was again assigned a ticket toward the back of the bus and denied

disability priority seating.

44.   On August 3, 2016 Panda bus trip, after purchasing her PandaNY ticket

Williams was denied access to the disability priority seating; other African

Americans were also denied this access.

45.   On this August 3, 2016 trip, Williams recalls a disabled African American

man and his 11-year-old child who requested the disability priority seating and was

denied access even though it was available at the front. The disabled man upon

trying to use the seat was told by the driver, “No, can’t sit there, it’s for the disabled.

Disabled.” To which the man quickly replied, “I AM disabled”. The driver got up

out of his seat, leaving the bus idling and escorted the disabled African-American

man and his daughter to the back of the bus. With only two other vacant seats on

the bus, the disabled father and child were required to sit separately at the back of

the bus.

46.   The Defendants’ drivers have acknowledged on several occasions that the

priority seating is for the disabled, but would nevertheless not allow Williams or

other African Americans to occupy disability priority seating.




                                               15
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 16 of 27




47.   On November 2, 2016 bus trip with Panda NY e-ticket from Atlanta to New

York, Williams tried to insist on priority seating at the DeKalb bus station. The

driver called over a local police officer who told Williams that he was familiar with

the Federal disability act but didn’t care, the company ‘had rules’ and ‘they could

run their business the way they wanted to.’ Williams was emotionally stressed and

suffered humiliation, mental anguish and aggravated physical pain as a result of the

driver calling a police officer.

48.   On the return trip from New York, November 4, 2016, Williams was issued a

Pandora Bus ticket and again requested but was denied access to the front of the bus

disability seating despite there being vacant seating. Williams would ask for

priority seating each time at the window while paying, again when getting on the

bus and if the seats were visibly vacant.

49.   December 13, 2016, Williams using her e-ticket boarded a PandaNY bus (in

Atlanta). She requested access to the disability priority seating and was denied but

given a seat on row 5. Another disabled African American man was told to leave

the priority seating and a young Asian girl was given access to the seat. The bus tag

number was 97961, a Massachusetts plate. DOT inspection reports show this bus

belonging to Eagle Bus, Inc.




                                             16
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 17 of 27




50.   On the return trip, December 15, 2016, upon boarding with all four disability

priority seats available, Williams sat down. The driver looked up from his seat and

nastily told Williams, “Go Go, not sit there”. Williams showed her cane to him.

The driver shook his head no, saying, “Go. Anything behind the second seat.”

Williams telling him she was in a lot of pain and needed the extra space. He said,

“No. Doesn’t matter. Go”. Another passenger spoke up, telling Williams not to

leave, that they only wanted to allow the young Asian girls to sit up front. Williams

distraught moved. The bus tag number on the bus was 93744 which is also shown

on a DOT inspection report and listed as being owned by Eagle Bus, Inc.

51.   On March 20, 2017, with Panda e-ticket from Atlanta to New York, Williams

again asks for disability priority seating and is refused. Returning with a Panda e-

ticket, March 24, 2017, Williams and a disabled veteran with a prosthetic leg

requested but were denied access to disability priority seating.

52.   March 29, 2017, Williams boarded Defendants’ bus in Atlanta. She asked for

priority seating on account of disability but was denied it on account of her race.

The bus headed to New York for doctor’s appointment and arrived early the next

morning (5:30 a.m.); the bus driver chose to drop the patrons off at a location other

than the New York Bus Stations requiring them to walk great distances in the dark.



                                             17
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 18 of 27




After her doctor visit, her PandaNY e-ticket dated March 30, 2017, she headed

home to Atlanta.

53.   During the early morning hours of the 31st bus ride back to Atlanta, a young

African American pregnant woman was speaking in a rather loud tone to her mother

on the phone. She had gotten up and requested to sit in the ‘priority seating’

because of swelling in her ankles. She was told no by the bus driver but continued

to try to explain that her ankles were swelling because of the pregnancy. She said

the bus driver began tapping on the brakes in an effort to try to get her to go sit back

down. It caused her to fall.

54.   Plaintiff has ridden Defendants’ buses many times because of needing

transportation to get to her medical appointments but in addition to the above

incidents, on June 20th, 21st, July 10th and 12th, July 17th and 19th 2017 Williams

repeatedly requested access to the disability priority seating but was denied because

she was African American.

55.   At each of these times, there were Asians sitting in the front part of the bus

and there was extra space in the front part of the bus that Plaintiff could have used

as a seat, had she been allowed.

56.   The Defendants issue tickets that do not contain the statement required by 49

C.F.R. § 374.103.


                                              18
        Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 19 of 27




57.     Exhibit A to this Complaint contains a table identifying certain trips Plaintiff

took on Defendants’ buses or using Defendants’ tickets and selected information

about those trips.

                                       COUNT I

                             (Violation of 42 U.S.C. § 1981)

58.     Plaintiff realleges and incorporates by reference Paragraphs 1 through 57

above, as if set forth fully herein.

59.     At all times material to this action, Plaintiff, while seeking transportation and

services from Defendants, presented herself in a fit and proper manner, both in

terms of dress and conduct.

60.     After Plaintiff purchased her ticket on each trip, Defendants’ ticketing agent

typically assigned her a ticket toward the back of the bus on account of her race.

61.     After Plaintiff purchased her ticket, Defendants refused to allow Plaintiff to

utilize the disability priority seating (that is, the 4 front seats) when she requested it,

or otherwise denied, Plaintiff access to disability ‘priority seating’ because of her

race.

62.     Defendants’ bus driver called the NYC police on plaintiff in March 2016 in

order to prevent her from using a priority disability seat. After the police explained

the law to the driver and allowed the Plaintiff to maintain the priority seating, the


                                                19
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 20 of 27




driver subsequently made calls on his cell phone in which he mentioned

discrimination laws. The incident caused mental anguish, humiliation and

emotional stress to plaintiff.

63.   Despite the bus driver’s warning his superior of violation of Federal

discrimination law, the Defendants continued to deprive Plaintiff of priority seating

on subsequent trips.

64.   Additionally, adding insult to injury, and compounding physical and mental

pain and suffering, on November 2, 2016 the Defendant again called over a police

officer who was parked at the DeKalb bus station. She was totally humiliated by

this black officer who was acting at the behest of the bus driver, who required her to

relinquish her seat.

65.   At all times relevant to the events described in this Complaint, the drivers,

ticket agents, customer service personnel, supervisor(s), manager(s) and other

employees were acting within the scope of their employment and were acting in

their capacities as employees, agents and/or representatives of Defendants.

66.   On information and belief, the discriminatory practices described in this

Complaint were carried out (i) at the direction of and with the consent,

encouragement, knowledge, and/or ratification of Defendants, and in particular of Li




                                             20
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 21 of 27




Wang; (ii) under Defendants’ authority, control and supervision; and/or (iii) within

the scope of the employees’ employment.

67.   Defendants’ actions were undertaken intentionally and purposefully, with

racially discriminatory animus, for the purpose of denying Plaintiff equal treatment

on the basis of her race.

68.   Defendants acted maliciously, in bad faith, and with willful, callous, wanton

and reckless disregard for Plaintiff’s federally-protected rights.

69.   Defendants treated similarly situated Asian persons differently from Plaintiff.

70.   Defendants failed to conduct a full and adequate investigation of the

Williams’ complaint and instead called the police to her.

71.   By the actions described in this Complaint, Defendants have denied Plaintiff

of her right to make contracts on the same basis as Asian persons, and deprived

Plaintiff of the enjoyment of the benefits, privileges, terms and conditions of a

contractual relationship, in violation of 42 U.S.C. § 1981.

72.   As a proximate result of the actions of Defendants described in this

Complaint, Plaintiff has suffered, continue to suffer, and will, in the future, suffer

great and irreparable loss and injury including, but not limited to, severe physical

pain, humiliation, embarrassment, emotional distress and mental anguish. Plaintiff




                                              21
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 22 of 27




is entitled to substantial monetary damages for these violations of law under 42

U.S.C. § 1981.

73.   In addition, Defendants engages in a pattern and practice of discriminating

against African Americans in the provision of transportation, goods and services.

74.   Defendants knowingly authorizes, assists, encourages and condones the

discriminatory conduct described in this Complaint by, among other things,

managerial authorization of, and participation in, discrimination and otherwise

failing to investigate and address adequately numerous occurrences and complaints

of discrimination.

                                       COUNT II

                                   (42 U.S.C. § 1983)

75.   Plaintiff realleges and incorporates by reference Paragraphs 1 - 74.

76.   When Defendants’ bus driver in Atlanta in November 2016 called over a

police offer to require her to relinquish her disability priority seat, it violated 42

U.S.C. § 1983, by using a police officer acting under color of law to enforce its

racially discriminatory rules, and caused her substantial emotional distress and

humiliation and physical suffering and pain attendant to being denied a priority seat.

77.   When in March 2016 Defendants’ bus driver in New York City called a

police offer to have her removed from a priority disability seat on account of her


                                               22
          Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 23 of 27




race, the Defendants’ also breached 42 U.S.C. § 1983. This action resulted in her

being ridiculed by some passengers for delaying the bus trip and she was humiliated

and left in tears. The action of delaying to bus trip by calling the police officer to

have her removed violates 42 U.S.C. § 1983 even though the police officer

(thankfully) allowed Williams to continue to occupy a disability priority seat. This

incident clearly placed Defendants on notice of their obligations under the law, yet

the Defendants continued to disregard the laws.

                                       COUNT III

                               (ADA – 42 U.S.C. § 12184)

78.       Plaintiff realleges and incorporates by reference Paragraphs 1 through 77.

79.       Defendant violated 42 U.S.C. § 12184.

80.       Defendant violated ADA implementing regulations 49 C.F.R. § 37.5(f) &

(i)(1).

81.       Defendant violated ADA implementing regulation 49 C.F.R. § 37.161 by

failing to maintain the accessibility of the buses.

82.       Defendant violated ADA implementing regulation 49 C.F.R. § 37.167(j).

Defendants recurrent refusals to allow Plaintiff, who is obviously disabled and

walks with a cane and is often in pain, to sit in one of the front seats with extra room




                                                23
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 24 of 27




for her legs, even after she asks and explains her disability, show a violation of this

regulation.

83.   Defendants violated ADA implementing regulation 49 C.F.R. § 37.173 by

failing to adequately train its drivers and personnel who assign seats. The recurrent

nature of the violations show that defendants’ drivers and other personnel are not

only not trained properly in the ADA but seemingly are instructed by management

to disregard it or to implement it in ways inconsistent with legal obligations. The

priority seating was sometimes occupied by Defendants’ own employees in

preference to the disabled.

84.   The Defendants failed to make modifications to its policies and procedures as

required by 42 U.S.C. § 12184(b)(2), which cross-references 42 U.S.C. §

12182(b)(2)(A)(ii), necessary to accommodate Plaintiff and other disabled persons.

For example, Defendants’ bus drivers, while acknowledging that the front seats are

for the disabled, use that as an excuse to hold the priority seating vacant.

Defendants appear to have a policy or rule of not allowing disabled black persons to

sit in the front, even when a request is made by the disabled passenger.

85.   While Plaintiff is not entitled to damages for breach of 42 U.S.C. § 12184,

she is entitled to declaratory judgment and injunctive relief and reasonable

attorneys’ fees and expenses (see 42 U.S.C. §§ 12188(a) and 2000a-3).


                                              24
       Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 25 of 27




                                       COUNT IV

                                   (Injunctive Relief)

86.   Plaintiff realleges and incorporates by reference Paragraphs 1 through 85

above, as if set forth fully herein.

87.   Defendants’ discriminatory conduct on the basis of race violates 42 U.S.C. §

1981, 42 U.S.C. § 1983, 49 U.S.C. § 14101, 49 C.F.R. § 374.101, and 49 C.F.R. §

374.103.

88.   Defendants’ discriminatory conduct on the basis of disability violates 42

U.S.C. § 12184, and 49 C.F.R. § 37.5(f) & (i)(1), § 37.161, § 37.167(j), and §

37.171.

89.   Because of Defendants’ low prices and Plaintiff’s limited financial means,

Plaintiff may again need to ride Defendants’ buses.

90.   Defendant regularly violates the forgoing statutes and regulations and is likely

to continue to do so.

91.   Plaintiff seeks injunctive relief to prevent the recurrence of Defendants’

violation of her rights and Defendants disregard of the foregoing statues and

regulations.




                                              25
      Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 26 of 27




                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that the Court grant her relief as follows:

(a)      enter a declaratory judgment finding that the actions of Defendants as

         alleged in this Complaint violated, on account of race discrimination, 42

         U.S.C. §1981, 42 U.S.C. § 1983, 49 U.S.C. § 14101, 49 C.F.R. § 374.101,

         and 49 C.F.R. § 374.103;

(b)      enter a declaratory judgment finding that the actions of Defendants as

         alleged in this Complaint violated, on account of disability discrimination,

         42 U.S.C. 12184, 49 C.F.R. § 37.5(f) & (i)(1), 49 C.F.R. § 37.161, 49

         C.F.R. § 37.167(j) and 49 C.F.R. § 37.171;

(c)      enter a permanent injunction, or an injunction of at least two years, barring

         Defendants from continuing to engage in illegally discriminatory conduct

         against Plaintiff and other African Americans and disabled persons who

         might ride Defendants’ buses in the future or purchase tickets from them;

(d)      enter an injunction, effective for at least two or more years, directing that

         Defendants take all affirmative steps necessary to remedy the effects of the

         illegally discriminatory conduct alleged in this Complaint and to prevent

         repeated occurrences in the future;



                                               26
      Case 1:18-cv-00785-WMR Document 1 Filed 02/21/18 Page 27 of 27




(e)      award compensatory damages in an amount that would fully compensate

         Plaintiff for her damages, including but not limited to, physical pain,

         humiliation, embarrassment, emotional distress, and mental anguish,

         caused by Defendants’ violations of the law, as alleged in this Complaint;

(f)      award punitive damages to Plaintiff in an amount that would punish

         Defendants for the intentional, malicious, callous, bad faith, willful,

         wanton and reckless misconduct alleged in this Complaint and that would

         effectively deter Defendants from future discriminatory behavior;

(g)      award Plaintiff their attorneys’ fees and costs; and

(h)      order all other relief deemed just and equitable by the Court.

                           DEMAND FOR JURY TRIAL

      Plaintiff demand a trial by jury on all issues so triable as of right.

      Dated: February 21, 2018.
                                               /s/Carl L. Sollee, Esq.
                                               GA Bar No. 000242
                                               Attorney for the Plaintiff
                                               Sollee Law, LLC
                                               1376 Sheffield Dr NE
                                               Atlanta, GA 30329
                                               (678) 358-5348
                                               carl@solleelaw.com




                                              27
